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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-cr-20685-KMW/EGT

      UNITED STATES OF AMERICA

      v.

      GUSTAVO ADOLFO HERNANDEZ FRIERI,

                  Defendant.
      ___________________________________/

                JOINT STATUS REPORT CONCERNING SENTENCING HEARING

           The United States (or “the Government”) and Defendant GUSTAVO ADOLFO

  HERNANDEZ FRIERI (“Defendant”) (together, “the Parties”), by and through undersigned

  counsel, submit this Joint Status Report in order to apprise the Court of the status of the need for

  the United States to call witnesses at the sentencing hearing and the length of the sentencing

  hearing.

           1.      The United States intended to call three witnesses at the Defendant’s sentencing

  hearing before the sentencing was continued to March 25, 2021. After the last status conference

  before the Court, the Court referred the taking of the testimony of those witnesses to United States

  Magistrate Judge Edwin G. Torres due to the overlap of the testimony and the third-party ancillary

  proceedings. Two of the witnesses testified before Judge Torres on February 8, 2021. The third

  witness is expected to testify before Judge Torres on February 18, 2021. 1

           2.      At this point in time, the United States does not expect to call any more witnesses

  before Judge Torres prior to sentencing and does not expect to call any witnesses at the sentencing

  hearing. The United States does request to reserve the right to call witnesses at the sentencing


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   The United States may recall one of the witnesses who testified on February 8, 2021, for a few follow-up questions
  based on documents provided the morning of the hearing.
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  hearing depending on argument of Defendant’s counsel.

         3.      The United States anticipates that legal argument on the objections to Pre-

  Sentence Investigation Report and argument as to the United States’ recommended sentence for

  the Defendant in consideration of the 3553(a) factors will take approximately 30 minutes.

         4.      The Defendant, at this point in time, does not intend to call any witnesses to testify

  before Judge Torres, but reserves the right to do so. The Defendant still requests an in person

  sentencing hearing. The Defendant is also working to present witnesses at the sentencing hearing

  by video or other virtual means. Counsel for the Defendant anticipates that its legal arguments

  and discussion of the 3553(a) factors before the Court will take approximately an hour to an hour

  and a half, and that the whole sentencing would take half a day.




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          5.     It should be noted that new co-counsel appeared on behalf of the Defendant on

  February 10, 2021.

   Dated: February 11, 2021                          Respectfully submitted,


   UNITED STATES OF AMERICA                          CARLTON FIELDS JORDEN BURT, P.A.
   ARIANA FAJARDO ORSHAN
   UNITED STATES ATTORNEY                            /s/ Michael Pasano
                                                     Michael Pasano, Esq.
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 11, 2021, a true and correct copy of the foregoing

  document was electronically filed with the Clerk of the Court using the CM/ECF system which

  would provide a copy to counsel of record.

                                                           /s/Kurt K. Lunkenheimer
                                                           Kurt K. Lunkenheimer
                                                           Assistant United States Attorney



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